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                                   1                                   UNITED STATES DISTRICT COURT

                                   2                                  NORTHERN DISTRICT OF CALIFORNIA

                                   3
                                        ANTHONY VENTURA, ET AL.,
                                   4                                                        Case No. 10-cv-01811-YGR
                                                        Plaintiffs,
                                   5                                                        ORDER REQUIRING SECOND
                                                  v.                                        SUPPLEMENTAL FILING RE: PRELIMINARY
                                   6                                                        APPROVAL
                                        SONY COMPUTER ENTERTAINMENT
                                   7    AMERICA LLC,
                                   8                    Defendant.

                                   9          At oral argument on the parties’ Motion for Preliminary Approval of Class Action

                                  10   Settlement, the Court directed Plaintiffs to submit exemplars of the forms of proof that the named

                                  11   plaintiffs could provide to satisfy the categories in the proposed settlement claims process.

                                  12   (Transcript of July 19, 2016 hearing at 5:16-6:2.)
Northern District of California
 United States District Court




                                              Plaintiffs have now submitted their Exemplars and Written Information in Further Support
                                  13
                                       of Motion for Preliminary Approval of Class Action Settlement (Dkt. No. 267). However, their
                                  14
                                       submission only demonstrates how three of the five named class representatives could establish
                                  15
                                       proof of their claim. No evidence was submitted regarding proof of claim for Jason Baker or
                                  16
                                       James Girardi.
                                  17
                                              Plaintiffs are therefore directed to submit, no later than August 26, 2016, a second
                                  18
                                       supplemental filing addressing: (1) evidence to establish proof of the claims for these other two
                                  19
                                       class representatives; and (2) an explanation as to why such proof was not submitted with Docket
                                  20
                                       No. 267.
                                  21
                                              IT IS SO ORDERED.
                                  22
                                       Dated: August 19, 2016
                                  23
                                                                                       ______________________________________
                                  24                                                         YVONNE GONZALEZ ROGERS
                                                                                           UNITED STATES DISTRICT JUDGE
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